Entered: September 27th, 2019
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Signed: September 27th, 2019

SO ORDERED




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF MARYLAND
                                             GREENBELT DIVISION

                                 In re:             §
                                                    §
                       Kimberly M. Hill,            §                  Case No. 19-15579
                  aka: Kimberly M. Bateman          §                     Chapter 13

                                                 §
                                  Debtor(s).     §
         *         *            *    *       * *   *   *    *   *     *                     *      *
                                  CONSENT ORDER MODIFYING AUTOMATIC STAY

                   Upon consideration of the foregoing Motion for Relief from Automatic Stay and upon the

         agreement of SN Servicing Corporation., Movant by its undersigned counsel, Kimberly M. Hill,

         Debtor, by his undersigned counsel, it is by the United States Bankruptcy Court for the District

         of Maryland:

                   ORDERED, that the Automatic Stay as to the property known as 37070 West Spicer

         Drive, Mechanicsville, MD 20659, be and is hereby modified, pursuant to 11 U.S.C. Section 362

         (d) as follows:
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1) Within thirty (30) days of the entry of this Order, Movant shall file an Amended

   Proof of Claim in which any post-petition arrears through September 9, 2019 shall be

   placed in the Amended Proof of Claim;

2) That within fourteen days of the entry of this Order, Debtor shall file an Amended

   Chapter 13 Plan, and if appropriate, a Motion to Amend the Chapter 13 Plan, to

   provide for payment of said post-petition arrears through his Chapter 13 Plan;

3) That the Debtor shall resume making his regular monthly payment in the amount of

   $1,134.24 or as adjusted for escrow or other monthly payment changes starting

   September 1, 2019, and as and when due thereafter;

4) That should the Debtor fail to make any payment when due or should any payment be

   returned for insufficient funds, Movant shall file a Notice of Default with the Court.

   Said Notice shall be mailed to Debtor and Debtor’s counsel and allow Debtor ten (10)

   days from the date the Affidavit of Default is mailed to cure up to two (2) defaults

   under this agreement. Any cure of a Notice of Default must be made in the form of a

   certified or cashier’s check or Western Union Quick Collect. No right shall be given

   to cure any default beyond that which is allowed in the Consent Order.

5) Upon the failure of the Debtor to cure any Notice of Default herein, or upon any

   subsequent default beyond that which is allowed to be cured in this Consent Order,

   the automatic stay shall automatically terminate upon the filing of a Notice of

   Termination of Automatic Stay by Movant.

6) That if Debtor converts this case to a case under Chapter 7, the Automatic Stay shall

   immediately terminate, and Movant may immediately exercise all rights provided by

   the security instruments referenced in the Motion for Relief and applicable state law.
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7) The post petition amount to be put in plan is $5,567.96, which includes defaulted

     payments and legal fees. May 1, 2019 – August 1, 2019 @ $1,134.24 = $4,536.96.

     Legal and Filing fees of $1,031.00.

8)      The fourteen (14) day stay of Bankruptcy Rule 4001 (a)(3) is waived.

Consented hereto:




/s/ Kimberly D. Marshall                             /s/ Richard J. Rogers
Kimberly D. Marshall Esq.                            Richard J. Rogers, Esq.
603 Post Office Road, Suite 209                      Cohn, Goldberg & Deutsch, LLC
Waldorf, MD 20602                                    600 Baltimore Avenue, Suite 208
                                                     Towson, MD 21204
                                                     (410) 296-2550
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                              CERTIFICATE OF SERVICE



I HEREBY CERTIFY that the terms of the copy of the consent order submitted to the Court are
identical to those set forth in the original consent order; and the signatures represented by the
/s/________ on this copy reference the signatures of consenting parties on the original consent
order.


       Kimberly M. Hill
       aka: Kimberly M. Bateman
       37070 West Spicer Drive
       Mechanicsville, MD 20659
       Debtor(s)


       And by electronic filing notification CM/ECF to:
       And debtor's(s') counsel:

       Kimberly D. Marshall
       603 Post Office Road , Suite 209
       Waldorf, MD 20602
       Counsel to the Debtor(s)


       Timothy P. Branigan
       9891 Broken Land Parkway, Suite 301
       Columbia, MD 21046
       Chapter Trustee

                                                                           /s/ Richard J. Rogers
                                                                Cohn, Goldberg & Deutsch, LLC
                                                                600 Baltimore Avenue, Suite 208
                                                                           Towson, MD 21204
                                                                                  410-296-2550


                                       END OF ORDER
